                                     Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 1 of 41 Page ID #:86



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                                       14
                                                                UNITED STATES DISTRICT COURT
     Los Angeles, CA 90067




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                                       16                      CENTRAL DISTRICT OF CALIFORNIA
                                       17
                                            Multiple Energy Technologies, LLC            Case No. 2:19-cv-01483-PA-RAO
                                       18
                                                           Plaintiff,                    DEFENDANT’S ANSWER TO
                                       19                                                COMPLAINT AND
                                                     v.                                  COUNTERCLAIM
                                       20
                                            Hologenix, LLC,
                                       21                                                Complaint Filed: February 28, 2019
                                                           Defendants.                   Counterclaim Filed: April 12, 2019
                                       22

                                       23   Hologenix, LLC
                                                                                         JURY TRIAL DEMANDED
                                       24                  Counterclaimant,

                                       25            v.

                                       26   Multiple Energy Technologies, LLC

                                       27                  Counter-Defendant.

                                       28

                                                                  ANSWER TO COMPLAINT AND COUNTERCLAIM
                                                                        Case No. 2:19-cv-01483-PA-RAO
                                            67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 2 of 41 Page ID #:87



   1            Defendant   and   Counterclaimant    Hologenix,   LLC    (“Defendant”    or
   2   “Hologenix”), by and through its undersigned counsel, hereby files its Answer to
   3   the Complaint by Plaintiff Multiple Energy Technologies, LLC (“Plaintiff” or
   4   “MET”) as well as its Counterclaim against Counter-Defendant MET as follows:
   5            1.   Answering paragraph 1 of the Complaint, Defendant admits that
   6   Plaintiff purports to bring an action arising out of Defendant’s advertising and
   7   promotion of material branded as Celliant® (“Celliant” or the “Product”).
   8   Defendant denies the remaining allegations set forth in paragraph 1 of the
   9   Complaint.
  10            2.   Answering paragraph 2 of the Complaint, Defendant affirmatively
  11   alleges that the Product is a proprietary mix of safe, naturally occurring thermo-
  12   reactive minerals selected for their unique properties and combined into a patented
  13   formula. If Defendant’s proprietary blend of minerals is properly embedded into the
  14   core of polyester fibers during the extrusion process, the resulting product has the
  15   ability to absorb and re-emit the visible and infrared electromagnetic light energy
  16   emitted by the body. These minerals then alter the wavelengths of this energy and
  17   reflect them back to the body, making it possible for the tissue to absorb it. The
  18   energy that the Product recycles back to the body has been proven to trigger
  19   vasodilation in the capillary beds and make more oxygen available to cells, resulting
  20   in more fuel for the body. Defendant lacks sufficient information to form a belief as
  21   to the truth or falsity of the remaining allegations set forth in paragraph 2 of the
  22   Complaint and therefore denies same.
  23            3.   Answering paragraph 3 of the Complaint, Defendant admits that
  24   certain marketing and advertising materials state that the U.S. Food and Drug
  25   Administration (“FDA”) determined Celliant products are medical devices and
  26   general wellness products, as defined in Section 201(h) of the Federal Food, Drug
  27   and, Cosmetic Act. Defendant further admits that, on rare occasions, it erroneously
  28   noted that the Product was approved by the FDA and/or the media inaccurately
                                                 2
                              ANSWER TO COMPLAINT AND COUNTERCLAIM
                                     Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 3 of 41 Page ID #:88



   1   reported that the Product was approved by the FDA. Defendant affirmatively
   2   alleges that the FDA determined Celliant products are medical devices and general
   3   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   4   Cosmetic Act.     Defendant also affirmatively alleges that its July 25, 2017 press
   5   release speaks for itself. Defendant further affirmatively alleges that the Product
   6   has been shown to increase local blood flow at the site of application in healthy
   7   individuals. Defendant denies the remaining allegations set forth in paragraph 3 of
   8   the Complaint.
   9            4.   Answering paragraph 4 of the Complaint, Defendant affirmatively
  10   alleges that the FDA determined Celliant products are medical devices and general
  11   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  12   Cosmetic Act. Defendant admits that the FDA has not “approved” the Product.
  13   Defendant denies the remaining allegations in paragraph 4 of the Complaint.
  14            5.   Answering paragraph 5 of the Complaint, Defendant admits that its
  15   marketing and advertising materials state that the FDA determined Celliant
  16   products are medical devices and general wellness products, as defined in Section
  17   201(h) of the Federal Food, Drug and, Cosmetic Act. Defendant further admits that
  18   its advertising materials state that the Product can improve tissue oxygen, a process
  19   vital to cells and muscles recovering through improved blood flow. Defendant
  20   further admits that, on rare occasions, it erroneously noted that the Product was
  21   approved by the FDA and/or the media inaccurately reported that the Product was
  22   approved by the FDA. Defendant denies the remaining allegations set forth in
  23   paragraph 5 of the Complaint.
  24            6.   Answering paragraph 6 of the Complaint, Defendant admits that its
  25   marketing and advertising materials stated that the FDA determined Celliant
  26   products are medical devices and general wellness products, as defined in Section
  27   201(h) of the Federal Food, Drug and, Cosmetic Act. Defendant further admits that
  28   its marketing and advertising materials state that Product can improve tissue
                                                 3
                             ANSWER TO COMPLAINT AND COUNTERCLAIM
                                    Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 4 of 41 Page ID #:89



   1   oxygen, a process vital to cells and muscles recovering through improved blood
   2   flow. Defendant also admits that its marketing and advertising materials state that
   3   improved tissue oxygen can increase performance, energy, strength and stamina,
   4   aids in faster recovery and promotes restful sleep. Defendant further admits that, on
   5   rare occasions, it erroneously noted that the Product was approved by the FDA
   6   and/or the media inaccurately reported that the Product was approved by the FDA.
   7   Defendant denies the remaining allegations set forth in paragraph 6 of the
   8   Complaint.
   9            7.    Defendant denies the allegations in paragraph 7 of the Complaint.
  10            8.    Defendant denies the allegations in paragraph 8 of the Complaint.
  11            9.    Defendant lacks sufficient information to form a belief as to the truth
  12   or falsity of the allegations set forth in paragraph 9 of the Complaint and therefore
  13   denies same.
  14                                          PARTIES
  15            10.   Defendant lacks sufficient information to form a belief as to the truth
  16   or falsity of the remaining allegations set forth in paragraph 10 of the Complaint
  17   and therefore denies same.
  18            11.   Defendant lacks sufficient information to form a belief as to the truth
  19   or falsity of the remaining allegations set forth in paragraph 11 of the Complaint
  20   and therefore denies same.
  21            12.   Defendant lacks sufficient information to form a belief as to the truth
  22   or falsity of the remaining allegations set forth in paragraph 12 of the Complaint
  23   and therefore denies same.
  24            13.   Defendant lacks sufficient information to form a belief as to the truth
  25   or falsity of the remaining allegations set forth in paragraph 13 of the Complaint
  26   and therefore denies same.
  27            14.   Defendant admits the allegations in paragraph 14 of the Complaint.
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                               ANSWER TO COMPLAINT AND COUNTERCLAIM
                                      Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 5 of 41 Page ID #:90



   1            15.    Answering paragraph 15 of the Complaint, Defendant affirmatively
   2   alleges that the post on Celiant.com titled “See How Celliant Is Made” speaks for
   3   itself. Defendant admits that it sells the Product, both as a fiber and as a powder and
   4   that it sells the Product to Under Armour, Inc. affiliates. Except as expressly
   5   admitted herein, Defendant denies all remaining allegations set forth in paragraph
   6   15 of the Complaint.
   7                               JURISDICTION AND VENUE
   8            16.    Answering paragraph 16 of the Complaint, Defendant does not dispute,
   9   at this time, that this Court has jurisdiction over it with respect to the claims asserted
  10   by Plaintiff.
  11            17.    Answering paragraph 17 of the Complaint, Defendant does not dispute,
  12   at this time, that venue is proper in this Court.
  13            18.    Answering paragraph 18 of the Complaint, Defendant admits that its
  14   headquarters are in Santa Monica, California. Defendant affirmatively alleges that
  15   the domicile of a limited liability company is based on the citizenship of its members.
  16   Defendant further affirmatively alleges that its members are citizens of California,
  17   Colorado, New York, Puerto Rico and the European Union. Except as expressly
  18   admitted herein, Defendant denies all remaining allegations set forth in paragraph
  19   18 of the Complaint.
  20            19.    Defendant admits the allegations in paragraph 19 of the Complaint.
  21                                FACTUAL ALLEGATIONS
  22            20.    Answering paragraph 20 of the Complaint, Defendant admits that the
  23   Product is not “FDA-approved.” Defendant further admits that, on rare occasions,
  24   it erroneously noted that the Product was approved by the FDA and/or the media
  25   inaccurately reported that the Product was approved by the FDA. Defendant denies
  26   the remaining allegations in paragraph 20 of the Complaint.
  27            21.    Answering paragraph 21 of the Complaint, Defendant affirmatively
  28   alleges that the July 31, 2017 tweet and Facebook post on Celliant’s accounts speak
                                                    5
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 6 of 41 Page ID #:91



   1   for themselves.      Except as expressly admitted herein, Defendant denies all
   2   remaining allegations set forth in paragraph 21 of the Complaint.
   3            22.   Answering paragraph 22 of the Complaint, Defendant affirmatively
   4   alleges that the August 10, 2017 tweet and Facebook post on Celliant’s accounts
   5   speak for themselves.    Except as expressly admitted herein, Defendant denies all
   6   remaining allegations set forth in paragraph 22 of the Complaint.
   7            23.   Answering paragraph 23 of the Complaint, Defendant affirmatively
   8   alleges that the August 28, 2017 Huffington Post article by Vivien Moon titled “The
   9   Future of Health and Wellness Is a Responsive Textile” speaks for itself. Except as
  10   expressly admitted herein, Defendant denies all remaining allegations set forth in
  11   paragraph 23 of the Complaint.
  12            24.   Answering paragraph 24 of the Complaint, Defendant admits that the
  13   August 28, 2017 Huffington Post article by Vivien Moon titled “The Future of
  14   Health and Wellness Is a Responsive Textile” was linked to its website. Except as
  15   expressly admitted herein, Defendant denies all remaining allegations set forth in
  16   paragraph 24 of the Complaint.
  17            25.   Answering paragraph 25 of the Complaint, Defendant affirmatively
  18   alleges that the September 26, 2017 tweet on Celliant’s account speaks for itself.
  19   Except as expressly admitted herein, Defendant denies all remaining allegations set
  20   forth in paragraph 25 of the Complaint.
  21            26.   Answering paragraph 26 of the Complaint Defendant affirmatively
  22   alleges that the October 16, 2017 tweet and Facebook post on Celliant’s accounts
  23   speak for themselves.    Except as expressly admitted herein, Defendant denies all
  24   remaining allegations set forth in paragraph 26 of the Complaint.
  25            27.   Answering paragraph 27 of the Complaint, Defendant affirmatively
  26   alleges that the February 22, 2018 article on Inc.com by Sonya Mann titled “How to
  27   Get E-Commerce Customers to Spend a Lot of Money at Once (and Then Do It
  28
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                               ANSWER TO COMPLAINT AND COUNTERCLAIM
                                      Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 7 of 41 Page ID #:92



   1   Again)” speaks for itself. Except as expressly admitted herein, Defendant denies all
   2   remaining allegations set forth in paragraph 27 of the Complaint.
   3             28.   Answering paragraph 28 of the Complaint, Defendant affirmatively
   4   alleges that the June 27, 2018 article on Hunker.com by the “Hunker Team” titled
   5   “7 Blankets That Do More Than Just Blanket” speaks for itself.            Except as
   6   expressly admitted herein, Defendant denies all remaining allegations set forth in
   7   paragraph 28 of the Complaint.
   8             29.   Answering paragraph 29 of the Complaint, Defendant affirmatively
   9   alleges that the July 18, 2018 article on Shape.com by Macaela Mackenzie titled
  10   “This New Under Armour Athleisure Collection Is All About Recovery” speaks for
  11   itself.      Except as expressly admitted herein, Defendant denies all remaining
  12   allegations set forth in paragraph 29 of the Complaint.
  13             30.   Answering paragraph 30 of the Complaint, Defendant affirmatively
  14   alleges that the July 18, 2018 article on WWD Digital Daily by Jean Palmieri titled
  15   “Après Workout” speaks for itself. Except as expressly admitted herein, Defendant
  16   denies all remaining allegations set forth in paragraph 30 of the Complaint.
  17             31.   Answering paragraph 31 of the Complaint, Defendant affirmatively
  18   alleges that the August 27, 2018 article in Gear Patrol by an unidentified author and
  19   titled “This Material You’ve Never Heard of Is Taking Over Activewear” speaks for
  20   itself.      Except as expressly admitted herein, Defendant denies all remaining
  21   allegations set forth paragraph in 31 of the Complaint.
  22             32.   Answering paragraph 32 of the Complaint, Defendant affirmatively
  23   alleges that the August 31, 2018 article on talkingpointsmemo.com titled “Wrap
  24   Yourself In Wellness With This Infinity Blanket” speaks for itself.       Except as
  25   expressly admitted herein, Defendant denies all remaining allegations set forth in
  26   paragraph 32 of the Complaint.
  27             33.   Answering paragraph 33 of the Complaint, Defendant affirmatively
  28   alleges that the article on Mattress Clarity by Joe Auer titled “How Does Celliant
                                                 7
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 8 of 41 Page ID #:93



   1   Work?” speaks for itself. Except as expressly admitted herein, Defendant denies all
   2   remaining allegations set forth paragraph in 33 of the Complaint.
   3            34.   Answering paragraph 34 of the Complaint, Defendant denies that the
   4   product listing at https://www.pillows.com/purecare-celliant-queen-.html currently
   5   includes a specification stating it is FDA approved. Except as expressly admitted
   6   herein, Defendant denies all remaining allegations set forth in paragraph 34 of the
   7   Complaint.
   8            35.   Answering paragraph 35 of the Complaint, Defendant lacks sufficient
   9   information to form a belief as to the intent of statements by third-parties regarding
  10   the Product and therefore denies the same. Except as expressly admitted herein,
  11   Defendant denies all remaining allegations set forth in paragraph 35 of the
  12   Complaint.
  13            36.   Answering paragraph 36 of the Complaint, Defendant admits that it
  14   uses the phrases “FDA-determined” to describe the Product. Defendant denies all
  15   remaining allegations set forth in paragraph 36 of the Complaint.
  16            37.   Answering paragraph 37 of the Complaint, Defendant affirmatively
  17   alleges that its July 25, 2017 press release speaks for itself. Except as expressly
  18   admitted herein, Defendant denies all remaining allegations set forth paragraph 37
  19   of the Complaint.
  20            38.   Answering paragraph 38 of the Complaint, Defendant affirmatively
  21   alleges that its July 25, 2017 post on Celliant’s Facebook page speaks for itself.
  22   Except as expressly admitted herein, Defendant denies all remaining allegations set
  23   forth paragraph 38 of the Complaint.
  24            39.   Answering paragraph 39 of the Complaint, Defendant admits that it
  25   has stated on Celliant’s website and on Celliant’s social media pages that the
  26   Product is “FDA-determined.” Defendant denies all remaining allegations set forth
  27   paragraph 39 of the Complaint.
  28            40.   Defendant admits the allegations in paragraph 40 of the Complaint.
                                                   8
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
                                      Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 9 of 41 Page ID #:94



   1            41.    Defendant admits the allegations in paragraph 41 of the Complaint.
   2            42.    Defendant admits the allegations in paragraph 42 of the Complaint.
   3            43.    Defendant admits the allegations in paragraph 43 of the Complaint.
   4            44.    Answering paragraph 44 of the Complaint, Defendant admits that it
   5   posted a link to the article titled “REVOLUTIONARY COTTON-RICH YOGA
   6   WEAR REDUCES RECOVERY TIME WITH FDA-DETERMINED MEDICAL
   7   DEVICE CELLIANT TECHNOLOGY DEBUTS AT PREMIÈRE VISION
   8   SHOW” that first appeared on the cottonusa.org website on Celliant’s website.
   9   Defendant denies all remaining allegations set forth paragraph 44 of the Complaint.
  10            45.    Answering paragraph 45 of the Complaint, Defendant affirmatively
  11   alleges that Draper Therapies’ July 28, 2017 press release speaks for itself. Except
  12   as expressly admitted herein, Defendant denies all remaining allegations set forth
  13   paragraph 45 of the Complaint.
  14            46.    Answering paragraph 46 of the Complaint, Defendant affirmatively
  15   alleges that Bear Mattress’ 2017 press release speaks for itself. Except as expressly
  16   admitted herein, Defendant denies all remaining allegations set forth paragraph 46
  17   of the Complaint.
  18            47.    Answering paragraph 47 of the Complaint, Defendant affirmatively
  19   alleges that the post on sleepopolis.com titled “What is Celliant Fiber?” speaks for
  20   itself. Defendant admits that it posted a link to the post on sleepopolis.com titled
  21   “What is Celliant Fiber?” on Celliant’s twitter account on or around November 4,
  22   2017.        Except as expressly admitted herein, Defendant denies all remaining
  23   allegations set forth paragraph 47 of the Complaint.
  24            48.    Answering paragraph 48 of the Complaint, Defendant affirmatively
  25   alleges that the post on fastcompany.com titled “These high-tech pajamas are
  26   proven to help your post-workout recovery?” speaks for itself. Defendant admits
  27   that it posted a link to the post on fastcompany.com titled “These high-tech pajamas
  28   are proven to help your post-workout recovery?” on Celliant’s twitter account on or
                                                    9
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 10 of 41 Page ID #:95



   1   around April 14, 2018. Except as expressly admitted herein, Defendant denies all
   2   remaining allegations set forth paragraph 48 of the Complaint.
   3            49.     Answering paragraph 49 of the Complaint, Defendant affirmatively
   4   alleges that the FDA determined Celliant products are medical devices and general
   5   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   6   Cosmetic Act. Defendant admits that it shared a link to CF Stinson’s June 11, 2018
   7   Facebook post to Celliant’s Facebook page. Defendant affirmatively alleges that
   8   the June 11, 2018 Facebook post by CF Stinson speaks for itself. Except as
   9   expressly admitted herein, Defendant denies all remaining allegations set forth
  10   paragraph 49 of the Complaint.
  11            50.     Answering paragraph 50 of the Complaint, Defendant affirmatively
  12   alleges that the FDA determined Celliant products are medical devices and general
  13   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  14   Cosmetic Act. Defendant admits that it linked an October 12, 2018 article titled
  15   “Under         Armour:   'We   make    people    better'”   by    Grace   Whelan       from
  16   www.drapersonline.com to its website. Defendant affirmatively alleges that the
  17   October 12, 2018 article titled “Under Armour: 'We make people better'” by Grace
  18   Whelan speaks for itself. Except as expressly admitted herein, Defendant denies all
  19   remaining allegations set forth paragraph 50 of the Complaint.
  20            51.     Answering paragraph 51 of the Complaint, Defendant affirmatively
  21   alleges that the October 28, 2018 Facebook post on Celliant’s account speaks for
  22   itself. Except as expressly admitted herein, Defendant denies all remaining
  23   allegations set forth in paragraph 51 of the Complaint.
  24            52.     Answering paragraph 52 of the Complaint, Defendant affirmatively
  25   alleges that the FDA determined Celliant products are medical devices and general
  26   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  27   Cosmetic         Act.      Defendant    admits      that    the    product   listing     at
  28   https://www.walmart.com/ip/Bare-Ultrawarmth-3mm-Scuba-Diving-Dive-
                                                   10
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 11 of 41 Page ID #:96



   1   Snorkeling-Gloves/531019045 states that “Celliant is scientifically proven and
   2   FDA-determined.”       Except as expressly admitted herein, Defendant denies all
   3   remaining allegations set forth paragraph 52 of the Complaint.
   4            53.   Answering paragraph 53 of the Complaint, Defendant affirmatively
   5   alleges that the FDA determined Celliant products are medical devices and general
   6   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   7   Cosmetic       Act.       Defendant     admits    that   the   product    listing   at
   8   https://www.underarmour.com/en-us/mens-athlete-recovery-compression-
   9   leggings/pid1318387-001 states that “Products powered by Celliant have been
  10   determined by the FDA to increase localized circulation, leading to faster
  11   recovery.” Except as expressly admitted herein, Defendant denies all remaining
  12   allegations set forth paragraph 53 of the Complaint.
  13            54.   Defendant denies the allegations in paragraph 54 of the Complaint.
  14            55.   Answering paragraph 55 of the Complaint, Defendant admits that the
  15   Product is not registered as a medical device with the FDA.                Defendant
  16   affirmatively alleges that the FDA determined Celliant products are medical
  17   devices and general wellness products, as defined in Section 201(h) of the Federal
  18   Food, Drug and, Cosmetic Act and that the FDA expressly stated that it does not
  19   intend to enforce any applicable regulatory requirements for the Products under the
  20   Federal Food, Drug, and Cosmetic Act and its implementing regulations, which
  21   requirements include medical device establishment registration, product listing, and
  22   premarket notification requirements. Except as expressly admitted herein,
  23   Defendant denies all remaining allegations set forth paragraph 55 of the Complaint.
  24            56.   Answering paragraph 56 of the Complaint, Defendant affirmatively
  25   alleges that the FDA determined Celliant products are medical devices and general
  26   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  27   Cosmetic Act. Defendant further affirmatively alleges that in the course of its
  28   interaction with FDA leading to FDA’s determination that the Celliant products are
                                                  11
                               ANSWER TO COMPLAINT AND COUNTERCLAIM
                                      Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 12 of 41 Page ID #:97



   1   medical devices and general wellness products, the scope of claims to be made for
   2   Celliant-containing products was made known to FDA and feedback was obtained
   3   on permitted and non-permitted claims.        Except as expressly admitted herein,
   4   Defendant denies all remaining allegations set forth paragraph 56 of the Complaint.
   5            57.   Answering paragraph 57 of the Complaint, Defendant affirmatively
   6   alleges that the FDA determined Celliant products are medical devices and general
   7   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   8   Cosmetic Act. Defendant further affirmatively alleges that in the course of its
   9   interaction with FDA leading to FDA’s determination that the Celliant products are
  10   medical devices and general wellness products, the scope of claims to be made for
  11   Celliant-containing products was made known to FDA and feedback was obtained
  12   on permitted and non-permitted claims.        Except as expressly admitted herein,
  13   Defendant denies all remaining allegations set forth paragraph 57 of the Complaint.
  14            58.   Answering paragraph 58 of the Complaint, Defendant denies it has
  15   engaged in false and deceptive advertising regarding the Product, that it has
  16   obtained “ill-gotten gains” or that it has committed any unlawful act. Defendant
  17   lacks sufficient information to form a belief as to the truth or falsity of the
  18   allegations set forth in paragraph 58 of the Complaint regarding Plaintiff’s
  19   motivation for bringing this action and therefore denies same. Defendant denies the
  20   remaining allegations of paragraph 58 of the Complaint.
  21            59.   Answering paragraph 59 of the Complaint, Defendant affirmatively
  22   alleges that the FDA determined Celliant products are medical devices and general
  23   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  24   Cosmetic Act. Defendant further admits that, on rare occasions, it erroneously
  25   noted that the Product was approved by the FDA and/or the media inaccurately
  26   reported that the Product was approved by the FDA. Except as expressly admitted
  27   herein, Defendant denies all remaining allegations set forth paragraph 59 of the
  28   Complaint.
                                                12
                              ANSWER TO COMPLAINT AND COUNTERCLAIM
                                     Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 13 of 41 Page ID #:98



   1            60.   Answering paragraph 60 of the Complaint, Defendant affirmatively
   2   alleges that the FDA determined Celliant products are medical devices and general
   3   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   4   Cosmetic Act and that the FDA expressly stated that the Product was not required
   5   to be registered as a medical device with the FDA. Except as expressly admitted
   6   herein, Defendant denies all remaining allegations set forth paragraph 60 of the
   7   Complaint.
   8            61.   Answering paragraph 61 of the Complaint, Defendant admits that the
   9   Product is not listed on the FDA’s list of approved medical devices. Defendant
  10   affirmatively alleges that the FDA determined Celliant products are medical
  11   devices and general wellness products, as defined in Section 201(h) of the Federal
  12   Food, Drug and, Cosmetic Act and that the FDA expressly stated it does not intend
  13   to enforce any applicable regulatory requirements for the Products under the
  14   Federal Food, Drug, and Cosmetic Act and its implementing regulations, which
  15   requirements include product listing. Except as expressly admitted herein,
  16   Defendant denies all remaining allegations set forth paragraph 61 of the Complaint.
  17            62.   Answering paragraph 62 of the Complaint, Defendant admits that the
  18   Product is not registered as a medical device with the FDA.              Defendant
  19   affirmatively alleges that the FDA determined Celliant products are medical
  20   devices and general wellness products, as defined in Section 201(h) of the Federal
  21   Food, Drug and, Cosmetic Act and that the FDA expressly stated that it does not
  22   intend to enforce any applicable regulatory requirements for the Products under the
  23   Federal Food, Drug, and Cosmetic Act and its implementing regulations, which
  24   requirements include medical device establishment registration, product listing, and
  25   premarket notification requirements.      Except as expressly admitted herein,
  26   Defendant denies all remaining allegations set forth paragraph 62 of the Complaint.
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                              ANSWER TO COMPLAINT AND COUNTERCLAIM
                                     Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 14 of 41 Page ID #:99



   1            63.   Paragraph 63 of the Complaint asserts legal conclusions to which no
   2   response is required. To the extent any response is required, Defendant denies the
   3   allegations of paragraph 63 of the Complaint.
   4            64.   Paragraph 64 of the Complaint asserts legal conclusions to which no
   5   response is required.
   6            65.   Defendant admits the allegations in paragraph 65 of the Complaint.
   7            66.   Paragraph 66 of the Complaint asserts legal conclusions to which no
   8   response is required. To the extent any response is required, Defendant denies the
   9   allegations of paragraph 66 of the Complaint.
  10            67.   Paragraph 67 of the Complaint asserts legal conclusions to which no
  11   response is required. To the extent any response is required, Defendant denies the
  12   allegations of paragraph 67 of the Complaint.
  13            68.   Defendant admits the allegations in paragraph 68 of the Complaint.
  14            69.   Answering paragraph 69 of the Complaint, Defendant affirmatively
  15   alleges that the articles published by the GAO and FDA identified in paragraph 69
  16   of the Complaint speaks for themselves. Except as expressly admitted herein,
  17   Defendant denies all remaining allegations set forth paragraph 69 of the Complaint.
  18            70.   Answering paragraph 70 of the Complaint, Defendant affirmatively
  19   alleges that the FDA determined Celliant products are medical devices and general
  20   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
  21   Cosmetic Act. Defendant further admits that, on rare occasions, it erroneously
  22   noted that the Product was approved by the FDA and/or the media inaccurately
  23   reported that the Product was approved by the FDA. Except as expressly admitted
  24   herein, Defendant denies all remaining allegations set forth paragraph 70 of the
  25   Complaint.
  26            71.   Answering paragraph 71 of the Complaint, Defendant affirmatively
  27   alleges that the FDA determined Celliant products are medical devices and general
  28   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
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                               ANSWER TO COMPLAINT AND COUNTERCLAIM
                                      Case No. 2:19-cv-01483-PA-RAO
       67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 15 of 41 Page ID #:100



    1   Cosmetic Act. Defendant admits that the FDA did not “approve” the Product.
    2   Except as expressly admitted herein, Defendant denies all remaining allegations set
    3   forth paragraph 71 of the Complaint.
    4            72.   Answering paragraph 72 of the Complaint, Defendant affirmatively
    5   alleges that the FDA determined Celliant products are medical devices and general
    6   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
    7   Cosmetic Act. Defendant further affirmatively alleges that the FDA does not
    8   require premarket review of marketing claims for general wellness products or for
    9   non-prescription medical devices. Defendant further affirmatively alleges that in
   10   the course of its interaction with FDA leading to FDA’s determination that the
   11   Celliant products are medical devices and general wellness products, the scope of
   12   claims to be made for Celliant-containing products was made known to the FDA
   13   and feedback was obtained on permitted and non-permitted claims.         Defendant
   14   lacks sufficient information to form a belief as to the truth or falsity of the
   15   remaining allegations set forth in paragraph 72 and therefore denies same.
   16            73.   Paragraph 73 of the Complaint asserts legal conclusions to which no
   17   response is required. To the extent any response is required, Defendant denies the
   18   allegations of paragraph 73 of the Complaint.
   19            74.   Answering paragraph 74 of the Complaint, Defendant affirmatively
   20   alleges that the FDA determined Celliant products are medical devices and general
   21   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   22   Cosmetic Act. Except as expressly admitted herein, Defendant denies all remaining
   23   allegations set forth paragraph 74 of the Complaint.
   24            75.   Answering paragraph 75 of the Complaint, Defendant affirmatively
   25   alleges that the FDA determined Celliant products are medical devices and general
   26   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   27   Cosmetic Act. Defendant further affirmatively alleges that the FDA does not
   28   require premarket review of marketing claims for general wellness products or for
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 16 of 41 Page ID #:101



    1   non-prescription medical devices. Defendant further affirmatively alleges that in
    2   the course of its interaction with FDA leading to FDA’s determination that the
    3   Celliant products are medical devices and general wellness products, the scope of
    4   claims to be made for Celliant-containing products was made known to FDA and
    5   feedback was obtained on permitted and non-permitted claims. Except as expressly
    6   admitted herein, Defendant denies all remaining allegations set forth paragraph 75
    7   of the Complaint.
    8            76.   Answering paragraph 76 of the Complaint, Defendant affirmatively
    9   alleges that the FDA determined Celliant products are medical devices and general
   10   wellness products, as defined in Section 201(h) of the Federal Food, Drug and,
   11   Cosmetic Act. Defendant denies the remaining allegations in paragraph 76 of the
   12   Complaint.
   13            77.   Defendant denies the allegations in paragraph 77 of the Complaint.
   14            78.   Defendant denies the allegations in paragraph 78 of the Complaint.
   15            79.   Defendant denies the allegations in paragraph 79 of the Complaint.
   16            80.   Defendant denies the allegations in paragraph 80 of the Complaint.
   17            81.   Answering paragraph 81 of the Complaint, Defendant admits that it
   18   makes claims about the health benefits of the Product, including that tests establish
   19   that the Product can promote general wellness.         Except as expressly admitted
   20   herein, Defendant denies all remaining allegations set forth in paragraph 81 of the
   21   Complaint
   22            82.   Answering paragraph 82 of the Complaint, Defendant affirmatively
   23   alleges that its July 25, 2017 press release speaks for itself. Except as expressly
   24   admitted herein, Defendant denies all remaining allegations set forth paragraph 82
   25   of the Complaint.
   26            83.   Answering paragraph 83 of the Complaint, Defendant affirmatively
   27   alleges that its October 28, 2018 Facebook post speaks for itself.          Except as
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 17 of 41 Page ID #:102



    1   expressly admitted herein, Defendant denies all remaining allegations set forth
    2   paragraph 83of the Complaint.
    3            84.   Defendant denies the allegations in paragraph 84 of the Complaint.
    4            85.   Paragraph 85 of the Complaint asserts legal conclusions to which no
    5   response is required. To the extent any response is required, Defendant admits that
    6   MET and Hologenix both promote and sell bioceramic material.
    7            86.   Defendant admits the allegations in paragraph 86 of the Complaint.
    8            87.   Answering paragraph 87 of the Complaint, Defendant denies that it
    9   engaged in a campaign of false and misleading statements.              Defendant lacks
   10   sufficient information to form a belief as to the truth or falsity of the allegations set
   11   forth in paragraph 87 of the Complaint regarding Plaintiff’s purported relationships
   12   with Under Armour, Inc. or American Textile Company (and specific timing
   13   thereof) and therefore denies the same. Defendant denies any remaining allegations
   14   of paragraph 87 of the Complaint.
   15            88.   Defendant lacks sufficient information to form a belief as to the truth
   16   or falsity of the allegations set forth in paragraph 88 of the Complaint and therefore
   17   denies same. Defendant denies any remaining allegations of paragraph 88 of the
   18   Complaint.
   19            89.   Defendant lacks sufficient information to form a belief as to the truth
   20   or falsity of the allegations set forth in paragraph 89 and therefore denies same.
   21   Defendant denies any remaining allegations of paragraph 89 of the Complaint.
   22            90.   Answering paragraph 90 of the Complaint, Defendant admits that on
   23   January 7, 2017 it posted a link from Time.com titled “Under Armour Wants You to
   24   Buy Tom Brady's Pajamas” to Celliant’s twitter account.               Defendant lacks
   25   sufficient information to form a belief as to the truth or falsity of the remaining
   26   allegations set forth in paragraph 90 and therefore denies same.
   27            91.   Answering paragraph 91 of the Complaint, Defendant admits that on
   28   April 24, 2017 it posted a link from sleepsherpa.com titled “Tom Brady Pajamas
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 18 of 41 Page ID #:103



    1   Review: Under Armor’s New Performance Sleepwear” to Celliant’s twitter account.
    2   Defendant denies the remaining allegations in paragraph 91 of the Complaint.
    3            92.   Defendant lacks sufficient information to form a belief as to the truth
    4   or falsity of the allegations set forth in paragraph 92 and therefore denies same.
    5   Defendant denies any remaining allegations of paragraph 92 of the Complaint.
    6            93.   Defendant denies the allegations in paragraph 93 of the Complaint.
    7            94.   Defendant lacks sufficient information to form a belief as to the truth
    8   or falsity of the allegations set forth in paragraph 94 regarding statements made
    9   during the purported contract negotiations between Plaintiff and Under Armour and
   10   therefore denies same. Defendant denies any remaining allegations of paragraph 94
   11   of the Complaint.
   12            95.   Defendant lacks sufficient information to form a belief as to the truth
   13   or falsity of the allegations set forth in paragraph 95 and therefore denies same.
   14   Defendant denies any remaining allegations of paragraph 95 of the Complaint.
   15            96.   Defendant lacks sufficient information to form a belief as to the truth
   16   or falsity of the allegations set forth in paragraph 96 and therefore denies same.
   17   Defendant denies any remaining allegations of paragraph 96 of the Complaint.
   18            97.   Answering paragraph 97 of the Complaint, Defendant admits that it
   19   entered into a contract with Under Armour to supply the Product. The terms of the
   20   contract speak for themselves. Defendant denies any remaining allegations in
   21   paragraph 97 of the Complaint.
   22            98.   Answering paragraph 98 of the Complaint, Defendant affirmatively
   23   alleges that its July 25, 2017 press release speaks for itself. Except as expressly
   24   admitted herein, Defendant denies all remaining allegations set forth paragraph 98
   25   of the Complaint. Defendant further admits that, on rare occasions, it erroneously
   26   noted that the Product was approved by the FDA and/or the media inaccurately
   27   reported that the Product was approved by the FDA. Except as expressly admitted
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 19 of 41 Page ID #:104



    1   herein, Defendant denies all remaining allegations set forth in paragraph 98 of the
    2   Complaint.
    3            99.   Defendant lacks sufficient information to form a belief as to the truth
    4   or falsity of the allegations set forth in paragraph 99 and therefore denies same.
    5   Defendant denies any remaining allegations of paragraph 99 of the Complaint.
    6            100. Answering paragraph 100 of the Complaint, Defendant admits that it
    7   entered into a contract with Under Armour to supply the Product. The terms of the
    8   contract speak for themselves. Defendant lacks sufficient information to form a
    9   belief as to the truth or falsity of the allegations regarding Plaintiff’s knowledge.
   10   Defendant denies any remaining allegations in paragraph 100 of the Complaint.
   11            101. Defendant denies the allegations in paragraph 101 of the Complaint.
   12            102. Answering paragraph 102 of the Complaint, Defendant admits that it
   13   entered into a contract with Under Armour to supply the Product. The terms of the
   14   contract speak for themselves. Defendant denies any remaining allegations in
   15   paragraph 102 of the Complaint.
   16            103. Defendant lacks sufficient information to form a belief as to the truth
   17   or falsity of the allegations set forth in paragraph 103 and therefore denies same.
   18   Defendant denies any remaining allegations of paragraph 103 of the Complaint.
   19            104. Answering paragraph 104 of the Complaint, Defendant admits that
   20   promotes Under Armour’s product on Cellaint.com.              Defendant denies the
   21   remaining allegations in paragraph 104 of the Complaint.
   22            105. Defendant denies the allegations in paragraph 105 of the Complaint.
   23            106. Answering paragraph 106 of the Complaint, Defendant admits that
   24   American Textile makes bedding. Defendant lacks sufficient information to form a
   25   belief as to the truth or falsity of the remaining allegations set forth in paragraph
   26   106 and therefore denies same.
   27            107. Defendant lacks sufficient information to form a belief as to the truth
   28   or falsity of the allegations set forth in paragraph 107 and therefore denies same.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 20 of 41 Page ID #:105



    1            108. Defendant lacks sufficient information to form a belief as to the truth
    2   or falsity of the allegations set forth in paragraph 108 and therefore denies same.
    3            109. Defendant lacks sufficient information to form a belief as to the truth
    4   or falsity of the allegations set forth in paragraph 109 and therefore denies same.
    5            110. Defendant lacks sufficient information to form a belief as to the truth
    6   or falsity of the allegations set forth in paragraph 110 and therefore denies same.
    7            111. Defendant lacks sufficient information to form a belief as to the truth
    8   or falsity of the allegations set forth in paragraph 111 and therefore denies same.
    9            112. Defendant lacks sufficient information to form a belief as to the truth
   10   or falsity of the allegations set forth in paragraph 112 and therefore denies same.
   11            113. Defendant lacks sufficient information to form a belief as to the truth
   12   or falsity of the allegations set forth in paragraph 113 and therefore denies same.
   13            114. Defendant lacks sufficient information to form a belief as to the truth
   14   or falsity of the allegations set forth in paragraph 114 and therefore denies same.
   15            115. Defendant lacks sufficient information to form a belief as to the truth
   16   or falsity of the allegations set forth in paragraph 115 and therefore denies same.
   17                                          COUNT I
   18                   (Violation of the Lanham Act 15 U.S.C. § 1125(a)(1)(B))
   19            116. Defendant incorporates by reference the preceding paragraphs of this
   20   Answer as if fully set forth herein.
   21            117. Paragraph 117 of the Complaint asserts legal conclusions to which no
   22   response is required. To the extent any response is required, Defendant denies the
   23   allegations in paragraph 117 of the Complaint.
   24            118. Defendant denies the allegations in paragraph 118 of the Complaint.
   25            119. Paragraph 119 of the Complaint asserts legal conclusions to which no
   26   response is required. It is also unclear which specific statements Plaintiff is referring
   27   to in this paragraph. To the extent any response is required, Defendant denies the
   28   allegations of paragraph 119 of the Complaint.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 21 of 41 Page ID #:106



    1            120. Paragraph 120 of the Complaint asserts legal conclusions to which no
    2   response is required. It is also unclear which specific statements Plaintiff is referring
    3   to in this paragraph. To the extent any response is required, Defendant denies the
    4   allegations of paragraph 120 of the Complaint.
    5            121. Paragraph 121 of the Complaint asserts legal conclusions to which no
    6   response is required. It is also unclear which specific statements Plaintiff is referring
    7   to in this paragraph. To the extent any response is required, Defendant denies the
    8   allegations in paragraph 121 of the Complaint.
    9            122. Paragraph 122 of the Complaint asserts legal conclusions to which no
   10   response is required. It is also unclear which specific statements Plaintiff is referring
   11   to in this paragraph. Defendant also lacks sufficient information to form a belief as
   12   to the truth or falsity of the allegations set forth in paragraph 122 of the Complaint
   13   and therefore denies same.
   14            123. Paragraph 123 of the Complaint asserts legal conclusions to which no
   15   response is required. To the extent any response is required, Defendant denies the
   16   allegations in paragraph 123 of the Complaint.
   17            124. Paragraph 124 of the Complaint asserts legal conclusions to which no
   18   response is required. To the extent any response is required, Defendant denies the
   19   allegations in paragraph 124 of the Complaint.
   20            125. Paragraph 125 of the Complaint asserts legal conclusions to which no
   21   response is required. To the extent any response is required, Defendant denies the
   22   allegations in paragraph 125 of the Complaint.
   23            126. Paragraph 126 of the Complaint asserts legal conclusions to which no
   24   response is required. To the extent any response is required, Defendant denies the
   25   allegations in paragraph 126 of the Complaint.
   26            127. Paragraph 127 of the Complaint asserts legal conclusions to which no
   27   response is required. To the extent any response is required, Defendant denies the
   28   allegations in paragraph 127 of the Complaint.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 22 of 41 Page ID #:107



    1            128. Paragraph 128 of the Complaint asserts legal conclusions to which no
    2   response is required. To the extent any response is required, Defendant denies the
    3   allegations in paragraph 128 of the Complaint.
    4                                          COUNT II
    5                   (Intentional Interference with Economic Advantage)
    6            129. Defendant incorporates by reference the preceding paragraphs of this
    7   Answer as if fully set forth herein.
    8            130. Paragraph 130 of the Complaint asserts legal conclusions to which no
    9   response is required. To the extent any response is required, Defendant lacks
   10   sufficient information to form a belief as to the truth or falsity of the allegations set
   11   forth in paragraph 130 of the Complaint and therefore denies same.
   12            131. Defendant lacks sufficient information to form a belief as to the truth
   13   or falsity of the allegations set forth in paragraph 131 of the Complaint and
   14   therefore denies same.
   15            132. Paragraph 132 of the Complaint is vague as to time.            Answering
   16   paragraph 132 of the Complaint, Defendant admits that it was public knowledge
   17   Under Armour, Inc. and “Red Wave Global” were working together.
   18            133. Defendant denies the allegations in paragraph 133 of the Complaint.
   19            134. Answering paragraph 134 of the Complaint, Defendant lacks sufficient
   20   information to form a belief as to the truth or falsity of the allegations set forth in
   21   paragraph 134 of the Complaint regarding why Under Armour withdrew from
   22   negotiations with Plaintiff.      Defendant denies the remaining allegations in
   23   paragraph 134 of the Complaint.
   24            135. Defendant lacks sufficient information to form a belief as to the truth
   25   or falsity of the allegations set forth in paragraph 135 of the Complaint and
   26   therefore denies same.
   27            136. Answering paragraph 136 of the Complaint, Defendant admits that it
   28   knew that some product development had occurred. Except as expressly admitted
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 23 of 41 Page ID #:108



    1   herein, Defendant denies all remaining allegations set forth in paragraph 136 of the
    2   Complaint.
    3            137. Defendant lacks sufficient information to form a belief as to the truth
    4   or falsity of the allegations set forth in paragraph 137 of the Complaint and
    5   therefore denies same.
    6            138. Defendant lacks sufficient information to form a belief as to the truth
    7   or falsity of the allegations set forth in paragraph 138 of the Complaint and
    8   therefore denies same.
    9            139. Paragraph 139 of the Complaint asserts legal conclusions to which no
   10   response is required. To the extent any response is required, Defendant denies the
   11   allegations in paragraph 139 of the Complaint.
   12            140. Paragraph 140 of the Complaint asserts legal conclusions to which no
   13   response is required. To the extent any response is required, Defendant denies the
   14   allegations in paragraph 140 of the Complaint.
   15            141. Defendant lacks sufficient information to form a belief as to the truth
   16   or falsity of the allegations set forth in paragraph 141 of the Complaint and
   17   therefore denies same.
   18            142. Defendant lacks sufficient information to form a belief as to the truth
   19   or falsity of the allegations set forth in paragraph 142 of the Complaint and
   20   therefore denies same.
   21            143. Paragraph 143 of the Complaint asserts legal conclusions to which no
   22   response is required. To the extent any response is required, Defendant lacks
   23   sufficient information to form a belief as to the truth or falsity of the allegations set
   24   forth in paragraph 143 of the Complaint and therefore denies same.
   25            144. Paragraph 144 of the Complaint asserts legal conclusions to which no
   26   response is required. To the extent any response is required, Defendant denies the
   27   allegations in paragraph 144 of the Complaint.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 24 of 41 Page ID #:109



    1            145. Paragraph 145 of the Complaint asserts legal conclusions to which no
    2   response is required. To the extent any response is required, Defendant denies the
    3   allegations in paragraph 145 of the Complaint.
    4                                          COUNT III
    5                    (Negligent Interference with Economic Advantage)
    6            146. Defendant incorporates by reference the preceding paragraphs of this
    7   Answer as if fully set forth herein.
    8            147. Paragraph 147 of the Complaint asserts legal conclusions to which no
    9   response is required. To the extent any response is required, Defendant lacks
   10   sufficient information to form a belief as to the truth or falsity of the allegations set
   11   forth in paragraph 147 of the Complaint and therefore denies same.
   12            148. Defendant lacks sufficient information to form a belief as to the truth
   13   or falsity of the allegations set forth in paragraph 148 of the Complaint and
   14   therefore denies same.
   15            149. Paragraph 149 of the Complaint is vague as to time.            Answering
   16   paragraph 149 of the Complaint, Defendant admits that it was public knowledge
   17   Under Armour, Inc. and “Red Wave Global” were working together.
   18            150. Defendant denies the allegations in paragraph 150 of the Complaint.
   19            151. Defendant denies the allegations in paragraph 151 of the Complaint.
   20            152. Defendant denies the allegations in paragraph 152 of the Complaint.
   21            153. Defendant denies the allegations in paragraph 153 of the Complaint.
   22            154. Defendant denies the allegations in paragraph 154 of the Complaint.
   23            155. Defendant denies the allegations in paragraph 155 of the Complaint.
   24            156. Defendant denies the allegations in paragraph 156 of the Complaint.
   25            157. Defendant denies the allegations in paragraph 157 of the Complaint.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 25 of 41 Page ID #:110



    1                                AFFIRMATIVE DEFENSES
    2            As for its affirmative defenses to all causes of action purported to be set forth
    3   in Plaintiff’s Complaint, Defendant alleges as follows. The Complaint does not
    4   describe the claims against Defendant with sufficient particularity to enable
    5   Defendant to determine what additional defenses it may have.                 Accordingly,
    6   Defendant reserves the right to amend this Answer as appropriate and to assert all
    7   additional defenses once the claims and/or facts become clear.
    8                             FIRST AFFIRMATIVE DEFENSE
    9                              (Failure to State Cause of Action)
   10            Each and every purported cause of action of the Complaint alleged against
   11   Defendant fails to state facts sufficient to constitute a cause of action against it.
   12                           SECOND AFFIRMATIVE DEFENSE
   13                                        (Unclean Hands)
   14            Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean
   15   hands.
   16                            THIRD AFFIRMATIVE DEFENSE
   17                                           (Estoppel)
   18            Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.
   19                           FOURTH AFFIRMATIVE DEFENSE
   20                                            (Laches)
   21            Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.
   22                             FIFTH AFFIRMATIVE DEFENSE
   23                                            (Waiver)
   24            Plaintiff’s claims are barred, in whole or in part, by the equitable doctrine of
   25   waiver.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 26 of 41 Page ID #:111



    1                             SIXTH AFFIRMATIVE DEFENSE
    2                                           (No Duty)
    3            Plaintiff’s third cause of action for negligent interference with prospective
    4   economic advantage is barred, in whole or in part, by the fact that Defendant does
    5   not owe Plaintiff any legal duty.
    6                            SEVENTH AFFIRMATIVE DEFENSE
    7                           (Acts of Third Parties and/or Plaintiff)
    8            If Plaintiff did sustain any damages as alleged in the Complaint, that
    9   damage, injury or loss, if any, was proximately caused or contributed to, in whole
   10   or in part, by the conduct of Plaintiff, or other persons or entities (whether or not a
   11   party to this lawsuit) other than Defendant.
   12                            EIGHTH AFFIRMATIVE DEFENSE
   13                                           (Causation)
   14            Defendant is not liable to Plaintiff, in whole or in part, because any losses that
   15   Plaintiff allegedly suffered because none of the conduct attributed to Defendant
   16   proximately caused the injuries alleged, and any such causation was superseded by
   17   the conduct of Plaintiff and/or third parties and/or circumstances beyond the control
   18   of Defendant, thus barring or diminishing any recovery against Defendant.
   19                             NINTH AFFIRMATIVE DEFENSE
   20                                      (Adequate Remedy)
   21            The Complaint, its causes of action, and its remedies for injunctive relief and
   22   restitution are barred in light of the fact that Plaintiff has a legal remedy,
   23   specifically money damages. Further, Plaintiff is not entitled to equitable relief
   24   that duplicates any legal relief it may receive.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 27 of 41 Page ID #:112



    1                            TENTH AFFIRMATIVE DEFENSE
    2                                      (Failure to Mitigate)
    3            Plaintiff failed to mitigate any purported damages. As such, any recovery by
    4   Plaintiff must be diminished by the amount of damages they could have reduced if
    5   it timely and appropriately acted to mitigate damages.
    6                         ELEVENTH AFFIRMATIVE DEFENSE
    7                                           (Standing)
    8            Plaintiff’s claims are barred, in whole or in part, because it lacks standing to
    9   pursue the allegations in the Complaint.
   10                             TWELFTH AFFIRMATIVE DEFENSE
   11                                             (Setoff)
   12            Plaintiff’s purported damages, if any, must be setoff by any damages caused
   13   by Plaintiff.
   14            Defendant reserves the right to add such further defenses as may be
   15   warranted by the information developed through discovery.
   16                                            PRAYER
   17            WHEREFORE, having fully answered the Complaint, Defendant respectfully
   18   prays as follows:
   19            A.     That Plaintiff takes nothing by way of its Complaint;
   20            B.     That judgment be entered in favor of Defendant and against Plaintiff on
   21   the Complaint as a whole;
   22            C.     That Defendant be awarded attorneys’ fees and costs of suit as may be
   23   appropriate under applicable statutes;
   24            D.     That the Court award Defendant such other relief as the Court may
   25   deem appropriate.
   26                                       JURY DEMAND
   27            Defendant demands a trial by jury on any of Plaintiff’s claims triable to a jury.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 28 of 41 Page ID #:113



    1                                    COUNTERCLAIM
    2            Pursuant to Rule 13 of the Federal Rules of Civil Procedure, Counterclaimant
    3   Hologenix, LLC (“Hologenix”) states and alleges as follows:
    4                        PARTIES, JURISDICTION AND VENUE
    5            1.    Counterclaimant Hologenix is a Delaware limited liability company
    6   that is headquartered in Santa Monica, California.            Hologenix’s members are
    7   citizens of California, Colorado, New York, Puerto Rico and the European Union.
    8            2.    Upon information and belief, Counter-Defendant Multiple Energy
    9   Technologies, LLC (“MET”) is a Delaware limited liability company, having its
   10   principal place of business at 470 Johnson Road, Suite 220, Meadow Pointe Plaza,
   11   Washington, PA 15301 and domiciled in Pennsylvania.
   12            3.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331
   13   and 15 U.S.C. § 1121.
   14            4.    This Court may properly exercise personal jurisdiction over MET
   15   because MET has done business and entered into contracts in California, and MET
   16   purposely availed itself of the laws of California by, among other things, filing the
   17   underlying action in this district.
   18            5.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a
   19   substantial part of the events or omissions giving rise to the claim occurred in this
   20   District, and MET filed the underlying action in this District.
   21                               FACTUAL ALLEGATIONS
   22            6.    Hologenix manufactures, promotes and sells a bioceramic product
   23   called Celliant™, which is a proprietary mineral matrix that can be embedded into
   24   the core of a yarn or applied to a wide variety of fabrics.
   25            7.    Hologenix sells Celliant as both a powder and a fiber that can be
   26   incorporated into a extensive range of products, including technical outerwear,
   27   athletic wear, base layer, wetsuits, bedding, equestrian apparel, insulations,
   28   veterinary products and furniture.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 29 of 41 Page ID #:114



    1            8.    The FDA has determined that Celliant products are medical devices as
    2   defined in section 201(h) of the Federal Food, Drug and Cosmetic Act and are
    3   general wellness products. Celliant is also designated as a Class 1 Medical Device
    4   in Canada, the European Union, Australia, and New Zealand.
    5            9.    Upon information and belief, MET manufactures, promotes and sells a
    6   bioceramic powder branded as “Redwave™”.
    7            10.   Upon information and belief, MET also manufactures, promotes and
    8   sells a bioceramic powder branded as “Biopower™”.
    9            11.   Upon information and belief, MET operates separate websites for the
   10   Redwave and Biopower brands.
   11            12.   Upon information and belief, Redwave and Biopower are the same
   12   product, just branded differently. Redwave and Biopower are collective referred to
   13   herein as the “MET Product.”
   14            13.   MET claims that the MET Product is based on Far Infrared
   15   Technology (“FIR”).
   16                         MET’s Deceptive and Misleading Claims
   17            14.   Upon information and belief, MET is and has been operating an
   18   Internet web site under the domain name http://redwaveglobal.com where it
   19   advertises and offers the MET Product for sale to businesses and consumers.
   20            15.   Upon information and belief, MET is and has been operating an
   21   Internet web site under the domain name http://biopower-usa.com where it
   22   advertises and offers the MET Product for sale to businesses and consumers.
   23            16.   MET has attempted to differentiate the MET Product from other
   24   bioceramics materials and products, like Celliant, through deceptive, false and
   25   misleading statements about its products.
   26            17.   For example, MET makes the following claims about the MET
   27   Product on the Redwave website at https://redwaveglobal.com:
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 30 of 41 Page ID #:115



    1            a.    Through meticulous lab work and experimentation, we took
    2                  what we already knew about FIR and some insights of our own
                       and fine-tuned it into a more powerful, more effective solution.
    3
                 b.    Our proprietary formula concentrates this power, delivering a
    4                  far more potent exposure to the FIR’s therapeutic rays.
    5            (last visited April 9, 2019).
    6            18.   Similarly, on the Biopower website, MET references the purported
    7   Brazilian origin of the MET Product to imply the MET Product is superior to other
    8   bioceramics:
    9         The journey to establish BIOPOWER™ took us to the Amazon in
              Brazil where we mined our core ingredient, bioceramics, that became
   10         the    foundation      of     our    proprietary     patent     pending
              formula. Bioceramics, often used in surgical implants, are ultra-
   11         fine mineral particles that have the proven ability to reflect and emit
              far infrared, enhancing the body’s physiological recovery
   12         process. MET further refines its bioceramics into a powder
              preserving these compelling benefits. This supercharged powder can
   13         then be incorporated into thousands of therapeutic delivery formats.
   14
        http://biopower-usa.com/technology/#about-tech (last visited April 9, 2019).
   15            19.   MET also claims that the MET Product uses a specialized “vibrational
   16   technology” that enhances the effects of FIR:
   17            BIOPOWER™ is an integrated technology engineered to harness the
   18            powerful effects of far-Infrared enhanced by vibrational technology.

   19
        http://biopower-usa.com/about/#about-us (last visited April 9, 2019).

   20            20.   Despite making claims about the specialized nature of the MET
   21   Product because of MET’s proprietary formula, Brazilian-sourced bioceramic
   22   material and “vibrational technology”, MET only supports these claims with
   23   generalized science regarding FIR technology.
   24            21.   MET fails to offer any scientific support for its claims that the MET
   25   Product is more potent than other bioceramics.
   26            22.   MET fails to offer any scientific support for its claims that the MET
   27   Product is more potent or effective because it sources its bioceramics materials in
   28   Brazil.
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                                  ANSWER TO COMPLAINT AND COUNTERCLAIM
                                         Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 31 of 41 Page ID #:116



    1            23.   MET fails to offer any scientific support for its claims that “vibrational
    2   technology” makes the MET Product more powerful.
    3            24.   MET’s representations and claims regarding the MET Product being
    4   superior to other bioceramics products because of MET’s proprietary formula,
    5   Brazilian-sourced bioceramic material and “vibrational technology”, are false and
    6   misleading.
    7            25.   MET knew or should have known that its representations regarding the
    8   MET Product being superior to other bioceramics products because of MET’s
    9   proprietary formula, Brazilian-sourced bioceramic material and “vibrational
   10   technology” were false and unsupported by any scientific evidence or studies.
   11            26.   MET’s claims regarding the MET Product being superior to other
   12   bioceramic materials or products, like Celliant, because of MET’s proprietary
   13   formula, Brazilian-sourced bioceramic material and “vibrational technology” are
   14   misleading because they have a tendency to deceive a substantial segment of its
   15   audience.
   16            27.   MET’s deception regarding the superiority of the MET Product to
   17   other bioceramic materials and products, like Celliant, is material in that it is likely
   18   to influence purchasing decisions by consumers and other interested in
   19   manufacturing products using bioceramic materials like the MET Product or
   20   Celliant.
   21            28.   MET caused its false statements regarding the MET Product being
   22   superior to other bioceramic materials or products to enter interstate commerce by
   23   publishing these statements on the Biopower and Redwave websites.
   24           MET’s Products are Unregistered and Unapproved Medical Devices
   25            29.   MET has advertised and continues to advertise the claimed benefits of
   26   the MET Products on the Redwave and Biopower websites.
   27

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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 32 of 41 Page ID #:117



    1            30.   Specifically, MET also makes a number of representations about the
    2   MET Product’s effect on physical and disease endpoints, which seek to create the
    3   impression that the MET Products are effective at achieving these endpoints.
    4            31. Specifically, MET states on Biopower’s website that:
    5            Products powered with BIOPOWER™ have the unique ability to help
                 improve biological functions. BIOPOWER™ is designed to help the
    6            body restore itself and generate natural energy by increasing cellular
                 metabolism, inducing analgesia, promoting muscle relaxation, and
    7            decreasing inflammation and oxidative stress.
                 http://biopower-usa.com/about/ (last visited April 9, 2019).
    8

    9            32.   MET also claims that the MET Product allows the body “to recover

   10   and heal quicker.” See http://biopower-usa.com/technology/ (last visited April 9,

   11   2019).

   12            33.   Additionally, MET claims on Redwave’s website that the MET

   13   Product is “for anyone looking for preventative measures to stay healthy.” See

   14   https://redwaveglobal.com/ (last visited April 9, 2019).

   15            34.   Products which have an intended use to treat or prevent disease, and

   16   which do not achieve their primary intended purposes through chemical action

   17   within or on the body, and which are not dependent on being metabolized for the

   18   achievement of their primary intended purposes, are medical devices under section

   19   201(h) of the Federal Food, Drug, and Cosmetic Act (codified at 21 USC §

   20   321(h)).

   21            35.   Pursuant to Section 510(k) of the Food, Drug and Cosmetic Act,

   22   device manufacturers that are not subject to Premarket Approval requirements must

   23   notify FDA of their intent to market a medical device at least 90 days in advance.

   24   This is known as Premarket Notification - also called PMN or 510(k).

   25            36.   A 510(k) is a premarket submission made to FDA to demonstrate that

   26   the device to be marketed is at least as safe and effective, that is, substantially

   27   equivalent, to a legally marketed device that is not subject to premarket approval.

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                                                   32
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 33 of 41 Page ID #:118



    1            37.   A medical device cannot be marketed without some form of premarket
    2   review by the FDA, known as a 510k clearance, unless the device is exempt from
    3   review requirements.
    4            38.   MET did not obtain a 510k clearance for the MET Product.
    5            39.   MET’s medical device is not exempt from 510k clearance
    6   requirements.
    7            40.   Because the MET Product is a medical device based on MET’s
    8   representations about its efficacy in achieving certain physical and disease
    9   endpoints and MET did not obtain a 510k clearance for the MET Product, it does
   10   not comply with the FDA’s medical device requirements.
   11            41.   MET knew or should have known that its claims regarding the efficacy
   12   of the MET Product in achieving certain physical and disease endpoints were
   13   misleading because it knew that the MET Product had not been approved as a
   14   medical device by the FDA.
   15            42.   MET’s claims regarding the efficacy of the MET Product in achieving
   16   certain physical and disease endpoints were misleading because they have a
   17   tendency to deceive a substantial segment of its audience into believing that the
   18   MET Product was a medical device approved by the FDA.
   19            43.   MET’s deception is material in that it is likely to influence purchasing
   20   decisions by consumers and other interested in manufacturing products using
   21   bioceramic materials like the MET Product or Celliant.
   22            44.   MET caused its false statements regarding the MET Product being a
   23   medical device approved by the FDA to enter interstate commerce by publishing
   24   these statements on the Biopower and Redwave websites.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 34 of 41 Page ID #:119



    1                        MET Lacks Substantiation for its Claims
    2            45.   In addition to making health-related claims regarding the MET
    3   Product, which cannot be made absent FDA approval, MET also lacks adequate
    4   substantiation for these claims.
    5            46.   Even if MET’s claims regarding the efficacy of the MET Product on
    6   disease were permissible by the FDA, the Federal Trade Commission (“FTC”)
    7   requires adequate substantiation prior to using these, or any other, claims in
    8   marketing materials, including the Redwave and Biopower websites.
    9            47.   Upon information and belief, MET does not have sufficient scientific
   10   substantiation for its claims regarding the efficacy of the MET Product.
   11            48.   On the Biopower website, MET has made available six studies on the
   12   MET Product and one FIR literature review.
   13            49.   The MET Product studies are color-coded to associate each one with
   14   particular claims and indications, such as “analgesic,” “anti-inflammatory,” and
   15   “sports”. This color coding necessarily suggests to the reader that the MET Product
   16   studies substantiate the identified claims and indications.
   17            50.   The MET Biopower studies are insufficient to substantiate MET’s
   18   claims and indications for the MET Product.
   19            51.   On the Biopower website, MET identifies three studies as supporting
   20   its claims that the MET Product is “analgesic” and “anti-inflammatory.” All three
   21   of these studies were conducted in mice or rats.
   22            52.   On the Biopower website, MET identifies three studies as supporting
   23   its claims that the MET Product provides a benefit with respect to “sports.”
   24            53.   The studies that MET identified as supporting the MET Product’s
   25   beneficial effects on people engaged in “sports” examine such endpoints as physical
   26   performance generally, balance, flexibility, grip strength, and respiratory capacity.
   27   All of these claims create a general impression that the MET Product offers benefits
   28   for people engaged in athletics, or even generally in vigorous physical activity.
                                                   34
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 35 of 41 Page ID #:120



    1            54.   Of the three studies that MET identifies as supporting the MET
    2   Product’s beneficial effects on people engaged in “sports” one of these is a rodent
    3   study and two are human studies with extremely small sample sizes, one involving
    4   17 subjects and one involving 9-12 subjects.
    5            55.   MET identifies all six studies as supporting the MET Product
    6   generally.
    7            56.   Rodent studies are not competent and reliable scientific evidence to
    8   substantiate claims for product benefits relating to human performance because
    9   advertising and claims regulators (which include not only the FDA, but also the
   10   FTC and state regulators) would not generally accept studies in rodents as sufficient
   11   proof of behavior in humans.
   12            57.   Studies with extremely small sample sizes (thirty or less) are
   13   insufficient, standing alone, to support claims about the benefits of the MET
   14   Product for people engaged in athletics or other vigorous activity.
   15            58.   Moreover, one of the human study’s used to support MET’s claim that
   16   the MET Product provided benefits for people engaged in athletics examined
   17   benefit after 5 months of wear, while the other involved a period of “extended
   18   wear” (i.e., 7 days/week throughout the day). These use patterns are not what
   19   would be expected for a typical consumer purchasing athletic apparel and thus the
   20   results are not conclusive for the general population.
   21            59.   Given the limitations on the sample sizes and study subjects, the six
   22   studies MET identifies to support its claims regarding the benefits of the MET
   23   Product on humans can only be considered illustrative, and must be viewed in
   24   conjunction with the wide body of literature on FIR, generally, in order to
   25   substantiate MET’s claims regarding the MET Product.
   26            60.   MET makes numerous other claims about the benefits of the MET
   27   Product for which it does not identify any supporting studies. For example, MET
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 36 of 41 Page ID #:121



    1   does not identify any of the studies on its website as supporting MET’s claims of
    2   the efficacy of the MET Product on “healing” or “prevention.”
    3            61.   Upon information and belief, there are no scientific studies that
    4   support MET’s claims of the efficacy of the MET Product on “healing” or
    5   “prevention.”
    6            62.   MET makes numerous claims that differentiate the MET Product from,
    7   and imply the MET Product is superior to other bioceramics materials and products,
    8   including Celliant. None of the studies available on the MET website compare the
    9   MET Product to any other FIR products.
   10            63.   Upon information and belief, MET there is no evidence comparing the
   11   characteristics of the MET Product to any other bioceramic materials or products.
   12            64.   Nonetheless, MET states on the Biopower website that:
   13
                 “Well documented, tested and proven in numerous medical and scientific
   14            publications, far infrared has been shown to support an increase in cellular
   15
                 metabolism, fight inflammation, promote cell energy and reduce oxidative
                 stress. Ultimately, by working with you, BIOPOWER™ helps promote
   16            recovery from life’s daily activities, allowing the body to return to a healthy
   17            state.”

   18            http://biopower-usa.com/technology/#about-tech (last visited April 10, 2019).
   19            65.   Reliance on the extensive scientific literature on FIR, generally, and
   20   not on studies specifically examining the MET Product when compared to other
   21   bioceramic materials or products, is insufficient to substantiate MET’s claims that
   22   there is anything unique or different about the MET Product in comparison with
   23   Celliant or any other FIR or bioceramic technology.
   24            66.   At the time MET made the deceptive representations about the MET
   25   Product, it knew or should have known that it did not have sufficient data to
   26   substantiate these representations, making MET’s representations deceptive and
   27   misleading.
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                                 ANSWER TO COMPLAINT AND COUNTERCLAIM
                                        Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 37 of 41 Page ID #:122



    1            67.     MET’s false and misleading claims about the MET Product have been
    2   repeated in the press and by physicians.
    3            68.     On November 21, 2017, an article was published on prnewswire.com
    4   that repeated a number of the false and misleading statements about the MET
    5   Product, including:
    6                  a. a statement by MET’s Chair of its Technology Committee, Dr. Alan
    7                    Letton, which stated that “By harnessing the physiological benefits of
    8                    Far Infrared, we created therapeutic apparel able to improve health as
    9                    it's worn – making recovering from an all-out effort faster, easier, and
   10                    more efficient”;
   11                  b. a statement by Dr. Vaugh McCall, who specializes in psychiatry and
   12                    health behavior at the Medical College of George, which stated "How
   13                    one sleeps at night affects focus, performance, and overall functioning
   14                    during the following day. Using Redwave’s technology, this new line
   15                    works to restore the body, assuring you'll rest easy and wake up
   16                    refreshed.”
   17   https://www.prnewswire.com/news-releases/redwave-global-announces-
   18   partnership-with-under-armour-inc-300559537.html
   19            69.     These statements were repeated in other media publications, including
   20   in     an       article   by   Obi    Anyanwu      on    fashionnetwork.com.         See
   21   https://us.fashionnetwork.com/news/Under-Armour-partners-with-Redwave-for-
   22   sleepwear-collection,894050.html#.XK0rrlVKhEY.
   23            70.     MET’s claims regarding the MET Product being superior to other
   24   bioceramic materials or products, like Celliant, based on general FIR research and
   25   studies has a tendency to deceive a substantial segment of its audience.
   26            71.     MET’s deception regarding scientific evidence of the superiority of the
   27   MET Product to other bioceramic materials and products, like Celliant, is material
   28   in that it is likely to influence purchasing decisions by consumers and other
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                                   ANSWER TO COMPLAINT AND COUNTERCLAIM
                                          Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 38 of 41 Page ID #:123



    1   interested in manufacturing products using bioceramic materials like the MET
    2   Product or Celliant.
    3            72.   MET caused its false statements regarding the MET Product being
    4   superior to other bioceramic materials or products to enter interstate commerce by
    5   publishing these statements on the Biopower and Redwave websites.
    6            73.   MET and Hologenix are in direct competition with each other because
    7   the MET Product and Celliant are comparable.
    8            74.   Upon information and belief, MET has realized and continues to
    9   realize an unfair competitive advantage due to its use of false and deceptive
   10   advertisements, which violates federal and state law.
   11                                         COUNT I
   12                  (Violation of the Lanham Act (15 U.S.C. § 1125(a)(1)(B))
   13            75.   Plaintiff incorporates by reference the preceding paragraphs of this
   14   Counterclaim as if fully set forth herein.
   15            76.   MET falsely and/or misleadingly represents facts related to the MET
   16   Product to customers, potential customers, and members of the public.
   17            77.   MET’s representations are literally false or are otherwise misleading
   18   and deceptive and serve to disparage Hologenix’s products.
   19            78.   Such representations of fact, undertaken in commercial advertising or
   20   promotion, misrepresent the nature, characteristics, or qualities of Hologenix’s and
   21   MET’s goods, services, and/or commercial activities and are false and misleading,
   22   in that, for example, MET’s representations give the impression that the MET
   23   Product is more potent than Celliant, is approved by the FDA to treat certain
   24   diseases and is substantiated by scientific studies.
   25            79.   MET’s representations actually, or are likely to, deceive a substantial
   26   segment of their intended audience of potential customers and customers of
   27   bioceramic products, as well as the public.
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                                                     38
                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 39 of 41 Page ID #:124



    1            80.   MET’s representations are material in their effects on the purchasing
    2   decisions of potential customers and customers of bioceramic products. These
    3   representations have influenced, and will continue to influence, purchasing
    4   decisions of such customers and potential customers.
    5            81.   MET has caused its false and/or misleading advertisements and
    6   representations to enter interstate commerce in that it provides the MET Product
    7   nationwide and has published these false and/or misleading advertisements and
    8   representations online.
    9            82.   MET’s false and misleading representations are acts of false
   10   advertising, product disparagement, and unfair competition in violation of the
   11   Lanham Act.
   12            83.   The acts of MET have been committed with intent to cause confusion
   13   and mistake, and with knowledge of their wrongful nature.
   14            84.   The false advertising, product disparagement, and unfair trade
   15   practices by MET are intentional and willful.
   16            85.   As a direct and proximate result of MET’s actions, Hologenix has been
   17   and will continue to be severely injured in its business and property through lost
   18   opportunities, profits, and otherwise, that would have been available to Hologenix
   19   had MET accurately and truthfully represented the capabilities of the MET Product
   20   and how the MET Product compares to Hologenix’s products.
   21            86.   In addition to the injury to Hologenix, as a direct and proximate result
   22   of MET’s actions, the public has been and will continue to be harmed and
   23   negatively affected in that it has and continues to receive false and/or misleading
   24   information about the MET Product and how it compares to Hologenix’s Products.
   25            87.   Hologenix is entitled to an injunction to prevent MET from continuing
   26   to brazenly make the aforementioned false, misleading and unsubstantiated
   27   representations, and to correct the false impression left by MET’s deception.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 40 of 41 Page ID #:125



    1            88.   Because this is an exceptional case involving calculated and willful
    2   misconduct by MET, Hologenix is entitled to recover up to three times the amount
    3   of actual damages and attorneys’ fees.
    4                                  PRAYER FOR RELIEF
    5            WHEREFORE, Hologenix respectfully requests that the Court enter
    6   judgment in its favor as follows:
    7            A.    Preliminarily   and   permanently   enjoining    MET,     its   agents,
    8   representatives, employees, assigns, and all persons acting in concert or privity with
    9   it, from falsely advertising or making misleading and unsubstantiated
   10   representations related to the MET Product and how it compares to Hologenix’s
   11   products, and other bioceramic products;
   12            B.    Issuing a permanent injunction ordering that MET, at its own expense,
   13   engage in appropriate corrective advertising designed to reach all persons to whom
   14   the false and misleading statements made by MET were directly or indirectly
   15   disseminated, and retracting the false and misleading statements previously made;
   16            C.    Awarding Hologenix monetary damages sufficient to compensate it for
   17   losses sustained on account of MET’s unlawful conduct as alleged above;
   18            D.    Awarding Hologenix MET’s profits derived by reason of the unlawful
   19   acts complained of, as provided by law;
   20            E.    Awarding Hologenix punitive and/or treble damages;
   21            F.    Awarding Hologenix reasonable attorneys’ fees, prejudgment interest,
   22   and costs of this action as provided by law; and
   23            G.    Awarding Hologenix any other relief that the Court deems just and
   24   equitable.
   25                                                   POLSINELLI LLP
        Dated: April 12, 2019
   26                                                   /s/ Noel Cohen
   27                                            By:     Noel S. Cohen
                                                        Attorneys for Defendant and
   28                                                   Counterclaimant Hologenix, LLC.
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
Case 2:19-cv-01483-PA-RAO Document 19 Filed 04/12/19 Page 41 of 41 Page ID #:126



    1                              CERTIFICATE OF SERVICE
    2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:
    3         At the time of service, I was over 18 years of age and not a party to this
    4   action. I am employed at Polsinelli LLP in the County of Los Angeles, State of
        California. My business address is 2049 Century Park East, Suite 2900, Los
    5   Angeles, California, 90067.
    6
              On April 12, 2019, I served true copies of the following document(s)
    7   described as
    8
                 DEFENDANT’S ANSWER TO COMPLAINT AND COUNTERCLAIM
    9

   10          BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
        the document(s) with the Clerk of the Court by using the CM/ECF system.
   11   Participants in the case who are registered CM/ECF users will be served by the
   12   CM/ECF system. Participants in the case who are not registered CM/ECF users will
        be served by mail or by other means permitted by the court rules.
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   14        I declare under penalty of perjury under the laws of the United States of
        America that the foregoing is true and correct.
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   16            Executed on April 12, 2019, at Los Angeles, California.
   17                                                   /s/ Jill Serena
   18                                                   Jill Serena
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                                ANSWER TO COMPLAINT AND COUNTERCLAIM
                                       Case No. 2:19-cv-01483-PA-RAO
        67939043.6
